
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Third-Party Defendants on the 8th day of February 2005 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant and Third Party Plaintiff, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 6th day of April 2005."
Upon consideration of the petition filed on the 8th day of February 2005 by Third-Party Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of April 2005."
